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    FIL ED                  JJ
      /2022
      1/3                        IN THE U.S. DISTRICT COURT
             . BRUTO    N
   THOMA.SDG
           IS T R IC T COURT   NORTHERN DISTRICT OF ILLINOIS
CLERK, U.S                           EASTERN DIVISION

     BRAID                                              21-cv-5283

     v                                                  Honorable Judge Jorge Alonso


     STILLEY et al

                   DEFENDANT GOMEZ REPLY TO BRAID RESPONSE [54]

            NOW COMES PRO SE DEFENDANT GOMEZ, Felipe Gomez, and replies to the

    1.3.22 Braid Response [54] as follows:

            1     Plaintiff states in operative part on 1.3.22, in [54], Response at 3-4:

                  “Every interpleader defendant would prefer to litigate his asserted claim in his
                  chosen forum, without competing claims.

                  Dismissing Gomez from this action on the basis of a dismissal of his claim
                  without prejudice would allow an end-run around the very purpose of
                  interpleader.

                  Since filing his second motion to dismiss, Gomez has filed an amended notice of
                  non-suit seeking dismissal of his Bexar County action with prejudice. (See ECF
                  No. 50).

                  On December 30, 2021, Interpleader Defendant Wolfgang Hirczy de Mino filed
                  an opposition to Gomez’s amended notice of dismissal in the Bexar County
                  action, asserting that Gomez cannot alter the nature of his dismissal from one
                  without prejudice to one with prejudice. See Ex. A. The Texas court has not acted
                  on on Hirczy de Mino’s opposition, nor has it closed Gomez’s case.

                  If the Texas court closes Gomez’s case as dismissed with prejudice, Dr. Braid
                  does not oppose dismissing Gomez from this action. Alternatively, Dr. Braid
                  does not oppose this Court entering a judgment that Gomez has no potential claim
                  against Dr. Braid for the $10,000 penalty award such that Gomez is no longer an
                  active defendant in this case.

                  IV. CONCLUSION




                                                    1
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        Dr. Braid does not oppose Gomez’s dismissal from this case if Gomez’s claim
        against Dr.Braid in Texas state court is closed as dismissed with prejudice or the
        entering of a judgment that Gomez has no potential claim against Dr. Braid.
        Otherwise, Gomez’s motion should be denied.”


  2.    Gomez responds generally that Braid improperly attempts to boondoggle into this

        Court “entering... a judgement judgment” against Gomez, without Gomez even

        being afforded a hearing on the merits, where the Court has been divested of

        whatever arguable jurisdiction it had by the non-suit with prejudice, instead of

        simply dismissing Gomez, with prejudice, which is clearly NOT a request for

        Gomez to be subjected to ANY ‘judgement”, which is what a motion to dismiss

        tries to avoid (which “idea” is repugnant, and would immediately be appealed if

        adopted without being heard on the merits, AFTER denial of the motion (not a

        grant of a judgement as a response thereto)). Response at 4 (admitting to

        knowledge of [50]).



  3.    As to the crack ““Every interpleader defendant would prefer to litigate his asserted

        claim in his chosen forum, without competing claims”, Gomez asserts that it is

        Braid that is trying to litigate in a forum inappropriate for the definitive resolution

        of the claims allegedly desired, where he has expended zero dollars in any Court

        in Texas, but rather one foreign to Texas. Response at 4.



        Gomez also asserts the Seventh Circuit prohibits what Braid is attempting, given

        Gomez has NEVER claimed the $10,000, and none of the state complaints ever



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        did. Bierman v Marcus, 246 F.2d 200, 202 (Lack of real fear of exposure

        prevents interpleader).



        Braid also ignores that Texas has an interpleader statute, TRCP 43, and that he

        could have asked for the 3 cases to be consolidated per TRCP 174. Nowhere in

        the record does Braid explain why he failed to utilize these avenues, except that

        chance had Gomez being from this District, apparently perceived, by practitioners,

        to have favorable (lax) interpleader requirements. Gomez asserts that the

        expenditure to consolidate in a court near Braid would have been less expensive

        and more convenient to Plaintiff.



  4.     Next, in the same breath, Braid asserts:

        “Dismissing Gomez from this action on the basis of a dismissal of his claim
        without prejudice would allow an end-run around the very purpose of
        interpleader. Since filing his second motion to dismiss, Gomez has filed an
        amended notice of non-suit seeking dismissal of his Bexar County action with
        prejudice. (See ECF No. 50). “


        First, the accusation that Gomez is end-running “the very purpose of interpleader”

        is not well taken, considering it is Braid that is abusing interpleader for, in Gomez

        opinion, political and business gain.



        Rather, an atlas reveals that it is Braid who is end running his own Texas Courts

        here in Chicago, protestations of needing “protection” falling to the wayside when




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        one considers how far from home Dr. Braid has wandered, in his efforts to not do

        a thing to defeat SB8.



        Instead of focusing on SB8, Braid elected to sue someone that tried to help him,

        asking for zero money, and then, when that someone tries to say goodbye,

        attempts to further abuse interpleader, and Gomez, by trying to bamboozle the

        Court into shoving a judgement up Gomez on the way out the door (‘no good

        deed...’).



        Second, the fact that Braid admits that Gomez non-suited with prejudice on

        12.20.21 undercuts the bogus request for a ad hoc favorable judgment, without

        due process beforehand. [50].



        Braid also fails to explain, or cite any law, as to how Gomez can “end run”, by

        trying to refile the matter when he has a non-suit with prejudice on file there, as if

        the Judge would ignore the “with prejudice”, again insulting Texas Courts, as

        does the existence of 21cv5283.



  5.    Next Braid asserts:


        “On December 30, 2021, Interpleader Defendant Wolfgang Hirczy de Mino filed
        an opposition to Gomez’s amended notice of dismissal in the Bexar County
        action, asserting that Gomez cannot alter the nature of his dismissal from one
        without prejudice to one with prejudice. See Ex. A. The Texas court has not acted
        on on Hirczy de Mino’s opposition, nor has it closed Gomez’s case.”


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        First, DeMino has not appeared or waiver service in 21CI19920, and the Court

        there has no authority to hear him, as personal jurisdiction does not exist, nor has

        he obtained leave to address the Court there, as a review of the docket he himself

        attached shows. See Response at Ex. A.



        Thus, based on the lack of authority or right of DeMino to file or be heard in

        21CI19920, it likely will never that his filings are “acted on”.



        Second, Braid presents no authority as to why it thinks a Texas Court must

        “close” a non-suited case, because that assertion is also bereft of basis in reality,

        fact and law both, since the non-suit divests the court of any further authority,

        other than to enter the non-suit (not any judgment, the lack of which is a

        prerequisite to non-suit. See [53].

        To wit:


        "Upon timely motion, the nonsuit is effective at the moment it is filed and effects
        an immediate dismissal of the entire lawsuit. Merrill Lynch Relocation
        Management, Inc. v. Powell, 824 S.W.2d 804, 806 (Tex.App. — Houston [14th
        Dist.] 1992, orig. proceeding). Consequently, the trial judge merely performs a
        ministerial act in granting the nonsuit. Shadowbrook Apartments v. Abu-Ahmad,
        783 S.W.2d 210, 211 (Tex. 1990); Greenberg v. Brookshire, 640 S.W.2d 870, 872
        (Tex. 1982). The taking of a nonsuit does not prejudice the parties from seeking
        the same relief in a subsequent suit. Ashpole v. Millard, 778 S.W.2d 169, 171
        (Tex.App. — Houston [1st Dist.] 1989, orig. proceeding); see Aetna Casualty
        Surety Co. v. Specia, 849 S.W.2d 805, 806 (Tex. 1993) (subject to certain
        conditions, plaintiff taking nonsuit not precluded from filing subsequent suit



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        seeking same relief); O'Brien v. Stanzel, 603 S.W.2d 826, 828 (right to nonsuit
        without prejudice to refiling absolute when motion timely).

        The nonsuit or dismissal is not an adjudication of the rights of the parties but
        merely places them in the position they were in as if suit had never been filed.
        Crofts v. Court of Civil Appeals, 362 S.W.2d 101, 103 (Tex. 1962); Ashpole v.
        Millard, 778 S.W.2d 169, 171 (Tex.App. — Houston [1st Dist.] 1989, orig.
        proceeding).

        Moreover, once the case is dismissed voluntarily, no further action may be had in
        that case, and any further action must be taken by instituting a suit de novo unless
        the trial court grants a motion to reinstate. Id.; see Missouri Pacific R.R.Co. v.
        Whitaker, 815 S.W.2d 348, 349 n. 2 (Tex.App. — Tyler 1991, orig. proceeding)
        (trial court retains plenary power to entertain motion for reinstatement following
        nonsuit).".

        Alvarado v Hyundai 885 S.W.2d 167, 177 (Tex App 1994).


        Given that the non-suit is with prejudice, a Texas Court does not even retain the

        plenary power to reinstate. Missouri Pacific R.R.Co. v. Whitaker, 815 S.W.2d 348,

        349 n. 2 (Tex.App. — Tyler 1991, orig. proceeding).



        Further, as the underlined passage above indicates, Braid’s desire that the Texas

        Court take any further action is only that, and like this interpleader is not based on

        fact or law, or any subjective reasonable fear of Gomez or the now gone claims in

        Texas, and the District Court need not wait to dismiss Gomez, except that Gomez

        has asked [52] that be put on hold in attempt to get DeMino in, first, in the event

        the Court declines to simply dismiss (or tries to enter any type of judgment against

        Gomez).




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  6.    Next, Braid asserts:

        “If the Texas court closes Gomez’s case as dismissed with prejudice, Dr. Braid
        does not oppose dismissing Gomez from this action.”


        As discussed above, the Texas Court has no power to “close” the case, it is over

        by operation of law “Without necessity of order”. TRCP 162; Alvarado v

        Hyundai 885 S.W.2d 167, 177 (Tex App 1994). Thus the condition precedent will

        never occur.



  7.    Then Braid states, in amazing disregard for the due process SB8 denies him:

        “Alternatively, Dr. Braid does not oppose this Court entering a judgment that
        Gomez has no potential claim against Dr. Braid for the $10,000 penalty award
        such that Gomez is no longer an active defendant in this case.”


        This is pure bull, as of course a defendant in a validly filed state lawsuit would

        love to get another foreign judge to enter judgement against his pursuer without

        any hearing on the merits, the exact type of deprival of due process SB8 imposes

        on him.



        The gall of Dr. Braid, to not only sue someone (that was) on his side, but then to

        ask a federal judge to ignore due process and violate Gomez’s rights to a fair

        hearing on the merits, is simply incredible, despicable and unacceptable from

        practicing attorneys that should know better than to try to get this Court further

        afield than has already been machinated.




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        Two wrongs do not make a right, and nothing Braid has done here in Chicago has

        done anything to right the wrong that is SB8, as the record reflects.



  8.    Finally, Braid concludes:


        “Dr. Braid does not oppose Gomez’s dismissal from this case if Gomez’s claim
        against Dr.Braid in Texas state court is closed as dismissed with prejudice or the
        entering of a judgment that Gomez has no potential claim against Dr. Braid.
        Otherwise, Gomez’s motion should be denied.” Response at 4.


        Gomez’s case is dismissed with prejudice, and is closed, that is the function of a

        non-suit in Texas as the caselaw above shows, thus Braid in effect agrees with the

        dismissal.



        Gomez will not stand for any judgement being entered against him as a result of a

        motion to dismiss, and in absence of due process, or even a motion for entry of

        judgement (but rather by a backdoor request in a response).



  10.   In the alternative, Gomez now asks the court to take the motions to dismiss and

        briefing under advisement, and table his motions to dismiss, until DeMino has

        appeared or is defaulted, and while Gomez contemplates both cross claims as to

        DeMino, and counterclaiming against Braid given Braid wishes for entry of

        judgement.




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          11.           Once DeMino is resolved, Gomez will move to have the motions to dismiss

                        decided, unless, as the second alternative, the Court elects to simply dismiss

                        Gomez without further ado, with prejudice as to Braid’s claims, and with no

                        judgements entered as to Gomez., which dismissal Gomez would not challenge if

                        it is merely that.



          13.           In a third alternative, Braid is invited to file for the relief it states it wishes,

                        beyond the 12.20.21, non-suit from the Texas Court, by simply appearing and

                        moving for that, in 21CI19920, as, after further contemplation, and despite

                        desiring to flip DeMino’s frivolity on his head, Gomez now does NOT intend to

                        take any further action there, of any sort.



          Submitted By: s/Felipe N. Gomez, Pro Se                  1.3.22

                                               CERTIFICATE OF SERVICE

          I hereby certify that on 1.3.22, a true and correct copy of the foregoing Reply has been

     served by the emailing it to the Clerk, and by the Clerk’s filing of it with the Clerk of the

     Court via the CM/ECF system, which generates a notice of filing to all those appearing.

/s/ Felipe N. Gomez, Pro Se Dated: 1.3.22
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